                                                                                   Case 2:16-cv-04592-ODW-MRW Document 1 Filed 06/24/16 Page 1 of 3 Page ID #:1



                                                                                    1 Raagini Shah (SBN 268022)
                                                                                        Email: rshah@reedsmith.com
                                                                                    2 355 South Grand Avenue, Suite 2900
                                                                                        Los Angeles, CA 90071-1514
                                                                                    3 Telephone: +1 213 457 8000
                                                                                        Facsimile: +1 213 457 8080
                                                                                    4
                                                                                        Attorneys for Defendant
                                                                                    5 SYNCHRONY BANK

                                                                                    6

                                                                                    7

                                                                                    8
                                                                                                              UNITED STATES DISTRICT COURT
                                                                                    9
                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                        CURT JACEY,                                 Case No
                                                                                   12
REED SMITH LLP




                                                                                                          Plaintiff,                [Removal from Superior Court of
                                                                                   13                                               California, County of Los Angeles Case
                                                                                              vs.                                   No. 16K05843]
                                                                                   14
                                                                                        SYNCHRONY BANK,                             NOTICE OF REMOVAL OF CIVIL
                                                                                   15                                               ACTION UNDER 28 U.S.C. § 1331
                                                                                                          Defendant.                AND 1441(a)
                                                                                   16
                                                                                                                                    [FEDERAL QUESTION]
                                                                                   17

                                                                                   18                                               Complaint Filed: May 13, 2016
                                                                                   19

                                                                                   20

                                                                                   21         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                                                                   22 THE CENTRAL DISTRICT OF CALIFORNIA:

                                                                                   23         PLEASE TAKE NOTICE that Defendant Synchrony Bank (“Synchrony”)
                                                                                   24 hereby removes this action described below from the California Superior Court,

                                                                                   25 County of Los Angeles to the United States District Court for the Central District of

                                                                                   26 California pursuant to Sections 1331 and 1441(a) of Title 28 of the United States

                                                                                   27 Code (“U.S.C.”). The removal is based on the following:

                                                                                   28
                                                                                                                                –1–
                                                                                          NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1331 AND
                                                                                                                   1441(a)
                                                                                   Case 2:16-cv-04592-ODW-MRW Document 1 Filed 06/24/16 Page 2 of 3 Page ID #:2



                                                                                    1 I.      REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT
                                                                                    2         MATTER JURISDICTION PURSUANT TO 28 U.S.C. §§ 1331 AND 1441
                                                                                    3         1.    On May 13, 2016, Plaintiff Curt Jacey filed a complaint in the California
                                                                                    4 Superior Court, County of Los Angeles entitled Curt Jacey v. Synchrony Bank, Case

                                                                                    5 Number 16K05843 (hereinafter the “State Court Action”). The Complaint alleges the

                                                                                    6 following causes of action: (1) Violation of the Rosenthal Fair Debt Collection

                                                                                    7 Practices Act (“RFDCPA”), Cal. Civ. Code § 1788.1 et seq.; and (2) Violation of the

                                                                                    8 Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq. The

                                                                                    9 Complaint, Summons, and other State Court Action documents are attached hereto as

                                                                                   10 Exhibit A, as required by 28 U.S.C. §1446(a).
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         2.    This action is a civil action over which this Court has original jurisdiction
                                                                                   12 under 28 U.S.C. § 1331, and is one which may be removed to this Court pursuant to
REED SMITH LLP




                                                                                   13 28 U.S.C. § 1441(a) in that it is a civil action arising under the laws of the United

                                                                                   14 States, specifically the TCPA.

                                                                                   15         3.    This Court also has supplemental jurisdiction over Plaintiff’s state claim
                                                                                   16 as this claim arises from the same core, operative facts relating to Synchrony’s alleged

                                                                                   17 violation of the TCPA. Accordingly, Plaintiff’s state law claim is related to Plaintiff’s

                                                                                   18 federal question claim, and thereby forms a part of the same case and controversy

                                                                                   19 pursuant to 28 U.S.C. § 1367(a).

                                                                                   20 II.     THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                                                                                   21         SATISFIED
                                                                                   22         1.    Synchrony was served with the Complaint on May 25, 2016. This Notice
                                                                                   23 of Removal is timely in that it is filed within thirty days after receipt by Synchrony of

                                                                                   24 a copy of the initial pleading setting forth the removable claim. See 28 U.S.C. §

                                                                                   25 1446(b).

                                                                                   26         2.    Synchrony is the only defendant named in the Complaint. Accordingly,
                                                                                   27 all named defendants consent to the removal of this action.

                                                                                   28         3.    The California Superior Court, County of Los Angeles is located within
                                                                                                                                 –2–
                                                                                            NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1331 AND
                                                                                                                     1441(a)
                                                                                   Case 2:16-cv-04592-ODW-MRW Document 1 Filed 06/24/16 Page 3 of 3 Page ID #:3



                                                                                    1 the United States District Court for the Central District of California. Thus, venue is

                                                                                    2 proper in this Court because it is the “district and division embracing the place where

                                                                                    3 such action is pending.” 28 U.S.C. § 1441(a).

                                                                                    4        4.    In compliance with 28 U.S.C. § 1446(d), Synchrony will serve on
                                                                                    5 Plaintiff and will file with the Clerk of the California Superior Court, County of

                                                                                    6 Los Angeles a written “Notice to the Clerk and Adverse Parties of Filing of Notice of

                                                                                    7 Removal of Civil Action to Federal Court,” attaching a copy of this Notice of

                                                                                    8 Removal and all supporting papers.

                                                                                    9        5.    No previous application has been made for the relief requested herein.
                                                                                   10
                 A limited liability partnership formed in the State of Delaware




                                                                                   11        WHEREFORE, Synchrony respectfully removes this action from the California
                                                                                   12 Superior Court, County of Los Angeles to this Court pursuant to 28 U.S.C. §§ 1331
REED SMITH LLP




                                                                                   13 and 1441.

                                                                                   14
                                                                                        DATED: June 24, 2016                 REED SMITH LLP
                                                                                   15

                                                                                   16
                                                                                                                             By      /s/ Raagini Shah
                                                                                   17                                             Raagini Shah
                                                                                                                                  Attorneys for Defendant
                                                                                   18                                             SYNCHRONY BANK
                                                                                   19

                                                                                   20

                                                                                   21

                                                                                   22

                                                                                   23

                                                                                   24

                                                                                   25

                                                                                   26

                                                                                   27

                                                                                   28
                                                                                                                                –3–
                                                                                          NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1331 AND
                                                                                                                   1441(a)
